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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


LIBERTARIAN NATIONAL           |
         COMMITTEE, INC.,      |
                               |
     Plaintiff,                |
  v.                           |              CIVIL ACTION NO.:
                               |
MIKE SALIBA, et. al.           |              23-cv-11074
                               |
     Defendants                |
                               |             JURY TRIAL DEMANDED
                               |
                               |
_______________________________|


           SECOND DECLARATION OF ANDREW CHADDERDON

      Under 28 U.S.C. §1746, I, Andrew Chadderdon, declare as follows, under

penalty of perjury:

      1.     I am over the age of 18, of sound mind, and otherwise competent to

provide this declaration under penalty of perjury.

      2.     I am the Chair for the Libertarian Party of Michigan (LPM) which is

the recognized state-level affiliate in Michigan by the Libertarian National

Committee (LNC) on behalf of the national Libertarian Party (NLP) and the

President of the Libertarian Party of Michigan Executive Committee, Inc.

(LPMEC). I was re-elected to these positions at the LPM’s annual convention on

July 15, 2023.

                                        1
                                    EXHIBIT 41
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      3.     The following exhibits are true and accurate copies of the purported

documents:

             • Exhibit 45, Answer and Affirmative Defenses of Andrew

                Chadderdon in Case No. 23-557-CB Washtenaw County Circuit

                Court, State of Michigan

             • Exhibit 46, Initial Disclosures of Andrew Chadderdon in Case No.

                23-557-CB Washtenaw County Circuit Court, State of Michigan

             • Exhibit 47, Parliamentary opinion of Jonathan M. Jacobs dated

                November 29, 2022, with supplement dated December 23, 2022

             • Exhibit 48, LARA print-out from April 28, 2023

             • Exhibit 49, LARA print-out from June 22, 2023

             • Exhibit 50, Parliamentary opinion of Jonathan M. Jacobs dated

                July 17, 2023, with attached referenced articles from the National

                Parliamentarian

             • Exhibit 51, Meeting minutes of the LPMEC meeting via Zoom

                January 6, 2023

             • Exhibit 52, Emails regarding petition for special convention dated

                January 3-4, 2023

             • Exhibit 53, Email from Josh Martin dated December 21, 2022

             • Exhibit 54, LPM Communications Policy


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            • Exhibit 55, Email from the illegitimate LEC dated June 7, 2023

            • Exhibit 56, mail from Defendant Saliba dated June 15, 2023

            • Exhibit 57, Facebook post evidencing member confusion

            • Exhibit 58, Email from Defendant Saliba dated June 16, 2023

            • Exhibit 66, Screenshot of Google search results for "Libertarian

                 Party of Michigan"

            • Exhibit 67, Submission of Andrew Chadderdon to the Michigan

                 Judicial Committee

      4.    There were multiple mis-statements and substantive omissions of fact

in Defendants’ Brief in Support of their Response to Motion for Preliminary

Injunction including the following:

            a)      Defendants assert that I made no objections to the motion of no

      confidence and the actions of filling vacant positions at the July 2022

      nominating convention. [PageID.623, 625] Repeated objections to

      violations of the bylaws which create a breach of a continuing nature are not

      necessary. In fact, since actions taken in violation of the bylaws or in

      violation of absentee rights are void ab initio, it is not necessary to raise an

      objection at all, although I did (RONR 12th ed. 23:5-6, 23:9). [see Exhibit

      27, PageID.527-539 and Exhibit 47, Opinion of Jonathan M. Jacobs dated

      November 29, 2022, with supplement dated December 23, 2022] However,


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      as conceded by Defendants, I did in fact rule such actions out of order at the

      time they were attempted to be added to the agenda at the nominating

      convention. [PageID.622-623]

            b)     Defendants assert that I “refused” to send out a notice for a vote

      of no confidence against me and the filling of vacancies to be heard at the

      July 2022 nominating convention. [PageID.622-622] That is misleading in

      multiple ways. The LPM Bylaws Article VI.4(2) and Article VI.4(4) require

      30 days’ notice to membership and 60 days’ notice to the local affiliates

      respectively for items to be added to the agenda of a non-regular convention,

      and these items were requested past that deadline, so sending out notice

      would have been in vain and deceptive. [see Exhibit 26 at PageID.526 and

      Exhibit 47, Parliamentary opinion of Jonathan M. Jacobs dated November

      29, 2022, with supplement dated December 23, 2022]. Further, the LPM

      Communications Policy makes it clear that the Communications Director

      can be directed to send out communications to the party membership, not

      just by the Chair, but by the entire LEC (i.e., executive committee) upon

      motion. [see Exhibit 54, LPM Communications Policy, Section A] The

      Defendants never made such a motion. Further, Defendant Canny ultimately

      sent out the notice on his own and with different motion language than what




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      was ultimately moved and voided. [see Exhibit 67, Submission of Andrew

      Chadderdon to the Michigan Judicial Committee]

            c)     Defendants manufacture controversy out of the inevitable

      reality of factions within political parties, particularly in an attempt to cast

      aspersions on the members of the LPM Judicial Committee. [see

      Defendants’ Exhibit 5, PageID.675 ¶21] However, Defendants fail to

      mention that the Judicial Committee was elected by the same convention

      delegates that elected the prior Chair and First Vice-Chair whose rash

      resignations started this chain of events, and thus were the choice of the

      delegates that they claim to honor when expedient. Further, as admitted by

      the Defendants, the deletion of a particular platform statement on bigotry at

      the 2023 National Libertarian Convention motivated these resignations, but

      at the illegitimate convention called by the Defendants, that very same

      language failed [see Defendant’s Exhibit 8, PageID.711], without even

      passing the stronger anti-bigotry language passed at the 2023 National

      Libertarian Convention calling for the defense of the rights of all people,

      regardless of their race, ethnicity, or any other aspect of their identity. In

      fact, members at that convention defended the deletion of the same language

      deleted at national calling into question the entire character assassination

      that appears to be part of the defense.



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            d)     Defendants state that “[S]ometime in early 2023, he [Andrew

      Chadderdon] began conducting so-called “executive committee” meetings of

      his own with a committee consisting of his political allies.” [PageID.626]

      However, the vagueness of this statement is misleading as it implies that the

      Defendants were ignorant of the dates of such meetings and is an outright

      misrepresentation that it solely consisted of my political allies. Defendants

      Brungardt, Canny, and Saliba were all present at these meetings as members

      of this executive eommittee on January 6, 2023, and January 25, 2023. [see

      Exhibit 51, Meeting minutes of the LPMEC meeting via Zoom January 6,

      2023, and Exhibit 28, PageID.540-553] In fact, all of the above Defendants

      participated on this executive committee for about 90 days prior to

      unilaterally deciding that the LPM Judicial Committee decision was not

      binding upon them.

            e)     Defendants completely omit the fact that after the LPM Judicial

      Committee decision was issued, they petitioned the executive committee for

      a Special Convention to be called to properly consider the overturned items

      which is the proper course of action under the LPM Bylaws. [see Exhibit 52,

      Emails regarding petition for special convention dated January 3-4, 2023] In

      fact, Defendants Brungardt, Canny, and Saliba all participated in the

      meetings at which this petition for a special convention was considered and



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      the requested special convention set for April 1, 2023, in Wixom, Michigan.

      [see Exhibit 51, Meeting minutes of the LPMEC meeting via Zoom January

      6, 2023, and Exhibit 28, PageID.540-553] Instead of attending the

      convention which they had requested which would have resolved this issue,

      the Defendants instead decided to disregard the LPM Judicial Committee

      decision, form a rogue executive committee, and call a competing

      convention for the exact same date of April 1, 2023, but with a location of

      Lansing, Michigan. [see Exhibit 30, PageID.556-557]

            f)     Defendants routinely mention numbers or support of members.

      [PageID.623, 628, 643, 674]    First, organizational bylaws cannot be

      suspended “no matter how large the vote in favor of doing so or how

      inconvenient the rule in question may be” (RONR 12th ed. 25:7), However,

      considering the constant misdirection and misinformation spread by the

      Defendants and the evidence of confusion at their alleged convention [see

      Exhibit 39, PageID.593, 597 at ¶3(i) and 14 referencing transcript of

      Convention video YouTube video at https://youtu.be/p1TkFtLwyNg

      beginning at timestamp 1:21:20], there is no objective determination of

      support numbers or how many people have simply stayed home or away

      from the Party out of disgust for this situation. The Defendants attempt to

      downplay the confusion of the member speaking in the video by claiming



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      that Defendant Saliba immediately corrected that member. However, a

      review of the video shows the opposite, and in fact, shows that Defendant

      Saliba was confused as to the correct answer to the member's questions

      about whether or not she was a member of the Michigan affiliate or not in

      the eyes of the NLP and stutters as he says, "it's... it's.... complicated" and

      her questions were cut off by another member moving to end debate.

      However, even if his assertion was correct, that does not dispel the fact that

      their actions have in fact caused confusion, and allegedly curing it with one

      member, does not cure it with any number of others. Further, his “cure”

      only creates more confusion since he acknowledged that the LNC does not

      recognize his board, and thus, he cannot claim to be the President of the

      LPMEC as its governing documents identify the entity as the one recognized

      by the NLP. [see Exhibit 1, PageID. 433, 440] The LPM and LPMEC are

      organizations operating under bylaws and rules, a fact they acknowledge

      when it comes to the NLP, even describing organizational bylaws as a

      “contractual agreement between the organization and its members.”

      [PageID.636]

            g)     Defendant Saliba claims that the LPM had never claimed any

      authority in the past to overrule decisions made by convention delegates

      without providing any evidence that such a question had ever been presented



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      and refused. [see Defendants’ Exhibit 5, PageID.675-676 ¶22] Further, the

      converse is true. There is no evidence that any past LPMEC has ever

      claimed that the Judicial Committee was merely advisory—which would of

      course render their role illusory since in most cases it is the LPMEC itself

      who would be the subject of an appeal alleging a violation of the Bylaws. In

      any event, even if such evidence existed, past violative actions are not

      binding precedent, only the Bylaws control, and the Bylaws explicitly vest

      this decision in the Judicial Committee (emphasis added): “The Judicial

      Committee shall decide cases involving alleged violations of these bylaws

      or resolutions.” [see Exhibit 26, PageID.520-521 and Exhibit 50,

      Parliamentary opinion of Jonathan M. Jacobs dated July 17, 2023, with

      attached referenced articles from the National Parliamentarian]

            h)     Defendant Saliba asserts that my appeal was sheerly on

       procedural matters and that these arguments had not been previously

       mentioned. [see Defendants’ Exhibit 5, PageID.674-675 ¶20]        Both of

       these statements are incorrect. Notice requirements are critical protections

       of absentee rights (RONR 12th ed. 2:13, 23:6(e), 25:7, 25:10-11 56:20).

       [see also Convention YouTube video at https://youtu.be/0Z-VtaWAcHA

       beginning about timestamp 19:30 through 26:35]




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             i)     Defendant Saliba omits the fact that I explicitly gave a reason

        for my delay to appeal the events of the July 2022 to the LPM Judicial

        Committee, that being that I did not wish to distract from the campaigns of

        the candidates for public office nominated at that convention, a fact of

        which I also personally informed him of at that convention. [see

        Defendants’ Exhibit 5, PageID.674 ¶18]      I further was in consultation with

        a parliamentarian during that time to prepare my appeal and understand my

        rights. On the contrary, Defendants complied with decision of the LPM

        Judicial Committee nearly up to the day before unilaterally deciding that

        they could wantonly disregard that decision which was against the advice of

        their own retained parliamentarian Josh Martin, the LPM Bylaws, the

        LPMEC Bylaws, and in contradiction to the Defendants’ implication that

        my goal was to split the Party [PageID.624-626], to wit (highlighting

        added):

       Statement from me to Mr. Martin: My goal is to pursue the question

       beyond the [Judicial Committee] decision was incorrect and my concern is

       for a potential fracture of the organization that I hope to avoid.

       Response from Mr. Martin to me: I think there is no doubt, given the

       extensive discussion on this topic, that the rules in question are ambiguous

       and therefore subject to interpretation. As a parliamentarian, my role is



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       simply to provide advice. The organization is the ultimate judge on these

       matters, and the organization's interpretation on this matter is the last word

       and is "correct" as a parliamentary matter, even although that decision may

       not agree with my advice. If I were the parliamentarian for this organization

       (or a member), I would respectfully submit to the organization's

       interpretation (even if I may disagree with it) and view it as a more fruitful

       use of my time to suggest amendments to clarify the meaning of the bylaws,

       rather than continuing to argue over the meaning of ambiguous rules. You

       are free to pass this advice along, to the extent you think it will be of

       assistance.

       [see Exhibit 53, Email from Josh Martin dated December 21, 2022]

       5.       Defendants claim that a disclaimer on their donation page vitiates any

 potential confusion. [PageID.630] This is both untrue and misleading as donations

 were not the only way in which Defendants caused and are still causing public

 confusion. [see Exhibit 39, PageID.592-595 ¶3 with subparts] Further, cash and

 mail donations are permitted, and there has been no evidence submitted that such

 future donors would be aware of any such disclaimer (which does not disclose they

 are not the official recognized Michigan affiliate). Additionally, since that time, the

 following additional actions by the Defendants causing chaos and confusion have

 taken place:



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              a)    The Defendants filed changes removing the legitimate LPMEC

       and listing themselves as the directors of the corporation with the Michigan

       Licensing and Regulatory Agency (LARA) after the filing of the Plaintiff’s

       Motion for Preliminary Injunction despite the fact that the LPMEC Bylaws

       and Articles of Incorporation require that the corporation be the recognized

       affiliate of the NLP (which recognition the Defendants do not enjoy).1 [see

       Exhibit 1, PageID.433, 440, Exhibit 48, LARA print-out from April 28,

       2023, and Exhibit 49, LARA print-out from June 22, 2023]

              b)    The illegitimate board sent an email on June 7, 2023, to the

       Party membership entitled “Official communication from the Libertarian

       Party of Michigan” advertising an event for a legitimate local affiliate

       “Huron-Raisin Libertarian Party2,” claiming said entity as their affiliated

       organization in a complete blurring of any line between the recognized NLP

       Michigan affiliate and their organization since only the recognized NLP

       Michigan affiliate is authorized to charter sub-affiliates entitled to use the

       NLP’s Trademark of “Libertarian Party” and thus implying an affiliation and




 1
   It is further noted that Defendants Saliba, Brungardt, and Canny participated in
 the meeting on January 25, 2023, that authorized the update of LARA with me
 listed as chair in the first place. [see Exhibit 28, PageID.552-553]
 2
   The Huron-Raisin Libertarian Party is a recognized sub-affiliate of the NLP-
 recognized Michigan affiliate.

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       relationship that does not exist. [see Exhibit 55, Email from the illegitimate

       board dated June 7, 2023]

             c)     Defendant Saliba sent two identical emails on June 15, 2023, to

       the Party membership in an attempt to dissuade persons from attending the

       recognized affiliate’s annual convention on July 15, 2023, by claiming his

       organization was the legitimate Libertarian Party organization and once

       again entitling said email “Official communication from the Libertarian

       Party of Michigan. [see Exhibit 56, Email from Defendant Saliba dated June

       15, 2023] These emails had their intended and inevitable result of confusion

       as demonstrated by a Facebook post from an LPM member. [see Exhibit 57,

       Facebook post evidencing member confusion]

             d)     Defendant Saliba sent an email on June 16, 2023, to the Party

       membership in an attempt to dissuade persons from donating to the LPM

       recognized affiliate by claiming they were the legitimate Libertarian Party

       organization and once again entitling said email “Official communication

       from the Libertarian Party of Michigan.” This email took place after the

       filing of the Plaintiff’s Motion for Preliminary Injunction. [see Exhibit 58,

       Email from Defendant Saliba dated June 16, 2023]

             e)     A Google search shows that while the recognized affiliate

       comes up first (michiganlp.org), the second result is the illegitimate group



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       (michiganlp.net) with the word "Official" appended to it which would

       deceive persons into believing this was the recognized affiliate as follows:




  [see Exhibit 66, Screenshot of Google search results for "Libertarian Party of

 Michigan"]

       6.     I would also note that the Defendants concede that if they and their

 supporters had attended the legitimate convention on April 1, 2023, in Wixom, they

 would not have had the votes to remove me. [see Defendants' Exhibit 14,

 PageID.751 "Straw No Confidence Vote"]




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                                         Jul 21, 2023
   Executed on ________.

   _________________________
Andrew Chadderdon (Jul 21, 2023 15:20 EDT)




   Andrew Chadderdon, LPM/LPMEC Chair




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SECOND DECLARATION OF ANDREW
CHADDERDON- V4
Final Audit Report                                                                             2023-07-21

  Created:                 2023-07-21

  By:                      Caryn Dossantos (idrankthekoolaid@mac.com)

  Status:                  Signed

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"SECOND DECLARATION OF ANDREW CHADDERDON- V4"
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    Document created by Caryn Dossantos (idrankthekoolaid@mac.com)
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    Document emailed to Andrew Chadderdon (andrew.chadderdon@gmail.com) for signature
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